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NORTON ROSE FULBRIGHT US LLP
Counsel for the Petitioners
1301 Avenue of the Americas
New York, New York 10019
(212) 408-5100
Andrew Rosenblatt
Francisco Vazquez


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re                                                             :
                                                                  :
MADISON ASSET LLC,                                                : In a Case Under Chapter 15
                                                                  : of the Bankruptcy Code
                                                                  :
Debtor in a Foreign Proceeding.                                   : Case No. 18-____
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     APPLICATION FOR ORDER LIMITING NOTICE, SCHEDULING HEARING
      AND SPECIFYING THE FORM AND MANNER OF SERVICE OF NOTICE

             Martin Nicholas John Trott and Christopher James Smith, in their capacity as the

Joint Official Liquidators (the “Petitioners”) of Madison Asset LLC (in Official Liquidation) (the

“Company”) and as duly authorized foreign representatives as defined by section 101(24) of title

11 of the United States Code (the “Bankruptcy Code”), by their United States counsel, Norton

Rose Fulbright US LLP, file this Application (the “Application”) and respectfully represent as

follows:


                                  PRELIMINARY STATEMENT

        1.      The Petitioners, as foreign representatives of the Company, have commenced the

above-captioned Chapter 15 case (the “Chapter 15 Case”) by filing a form petition pursuant to

Chapter 15 of the Bankruptcy Code and the Verified Petition in support thereof (the “Verified

Petition”) contemporaneously with, and accompanied by, all certifications, statements, lists and
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documents required pursuant to section 1515 of the Bankruptcy Code and Rule 1007(a)(4) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). Pursuant to the Verified

Petition, the Petitioners seek recognition of Company’s liquidation proceeding under Part V of

the Cayman Islands Companies Law pending before the Grand Court of the Cayman Islands (the

“Cayman Proceeding”) as a foreign main proceeding, as defined in section 1502(4) of the

Bankruptcy Code, and related relief.

       2.      Pursuant to this application, the Petitioners seek the entry of an order (the

“Proposed Order”) in the form annexed hereto as Exhibit “A”: (i) limiting notice; (ii) scheduling

a hearing on the relief sought in the Verified Petition; and (iii) approving the notice in the form

annexed hereto as Exhibit “B” (the “Notice”) of (a) the commencement of these Chapter 15

Case, (b) the relief sought by the Petitioners, and (c) the hearing to consider the Petitioners’

request for relief and specifying the manner of service of the Notice.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and

157 and the “Amended Standing Order of Reference” of the United States District Court for the

Southern District of New York (Preska, Loretta C.J.), dated January 31, 2012. This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

       4.      Venue is properly located in this District pursuant to 28 U.S.C. § 1410.

                                        BACKGROUND

       5.      The Court is respectfully referred to the Verified Petition, which is incorporated

herein by reference, for a more complete description of the Company, the Cayman Proceeding,

and the circumstances leading to the filing of the Chapter 15 Case.




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                                     RELIEF REQUESTED

I.     Order Limiting Notice

       6.      The Petitioners respectfully request that the requirement set forth in

section 1514(c) of the Bankruptcy Code be waived in this instance. Section 1514(c) of the

Bankruptcy Code provides that “[w]hen a notification of commencement of a case is to be given

to foreign creditors, such notification shall (1) indicate the time period for filing proofs of claim

and specify the place for filing such proofs of claim; [and] (2) indicate whether secured creditors

need to file proofs of claim . . . .” 11 U.S.C. § 1514(c). However, as explained in Collier, this

section is the “last in a series of sections dealing with the international aspects of cases under

chapters other than chapter 15 that began with section 1511.”            8 Collier on Bankruptcy

¶ 1514.01 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.) (emphasis added). 1514(a)

Consequently, it is designed to ensure that foreign creditors receive proper notice in cases in the

United States. Id. Given that the relief sought would not prejudice or impose any obligations on

creditors located outside the United States, the Petitioners respectfully request that the

requirements set forth in section 1514(c) be waived in this instance.

II.    Scheduling Hearing

       7.      Section 1517(c) of the Bankruptcy Code provides that a petition for recognition

shall be decided “at the earliest possible time.” Moreover, Bankruptcy Rule 2002(q)(1) provides

that parties are to be given 21 days’ notice of a hearing to consider granting the relief requested

in a Chapter 15 petition. See Fed. R. Bankr. P. 2002(q)(1). In addition, Rule 2002-4 of the

Local Rules for the United States Bankruptcy Court for the Southern District of New York (the

“Local Bankruptcy Rules”) provide that “[a] foreign representative commencing a chapter 15

case must forthwith give the notice required by Bankruptcy Rule 2002(q)(1) . . . .” Accordingly,

the Petitioners request that the Court set a hearing (the “Hearing”) on the Verified Petition for a



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date at least 21 days after service of the Notice, preferably on or about October 10, 2018 or as

soon thereafter as possible.

       8.      Bankruptcy Rule 1012(b) provides that objections and other responses to a

Chapter 15 petition “shall be presented no later than seven days before the date set for the

hearing on the petition.” Fed. R. Bankr. P. 1012(b). Accordingly, the Petitioners respectfully

request that the Court require that answers, objections or responses, if any, to the Verified

Petition be made in writing describing the basis therefore and filed with the Court electronically

in accordance with General Order M-399 by registered users of the Court’s electronic case filing

system, and by all other parties in interest, on a CD-ROM, preferably in Portable Document

Format (PDF), Word Perfect or any other Windows-based word processing format, with a hard

copy to the Chambers of the United States Bankruptcy Judge assigned to this case, and served

upon Norton Rose Fulbright US LLP, 1301 Avenue of the Americas, New York, New York

10019 (Attention: Andrew Rosenblatt and Francisco Vazquez) so as to be received on or before

4:00 p.m. (EST) on October 3, 2018.

III.   Service of Notice

       9.      Bankruptcy Rule 2002(q)(l) provides that at least 21 days’ notice must be given of

a hearing to consider a petition for recognition of a foreign proceeding to the debtor, all

administrators in foreign proceedings of the debtor, entities against whom provisional relief is

being sought under, all parties to any pending litigation in the United States in which the debtor

is a party, and any other parties the court may direct. Moreover, Bankruptcy Rules 2002(m) and

9007 state that the form and manner of notice shall be designated by the Court, unless otherwise

provided by the Bankruptcy Rules. Therefore, pursuant to Bankruptcy Rules 2002(m) and 9007,

this Court may specify such form and manner of notice.




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       10.     Consistent with the requirements of Bankruptcy Rule 2002(q), the Petitioners

propose serving the Notice on all known creditors or potential creditors and any entities that have

threatened to commence litigation against the Company in the United States (together with the

Office of the United States Trustee, the “Notice Parties”).1 The Petitioners respectfully request

that this Court permit service of the Notice, by United States First Class Mail or First Class

International Mail, upon the Notice Parties at their last known address, on or before September

20, 2018, and by email, if the Petitioners are aware of the Notice Party’s email address. To the

extent that the Petitioners become aware of additional creditors in the United States, or parties to

actions, arbitrations, or other proceedings in the United States in which the Company is named as

a party after the date hereof, counsel for the Petitioners will serve a copy of the Notice by United

States First Class Mail or First Class International Mail, as appropriate, and email, if the email

address is available, upon such parties that are located in the United States.

       11.     The Petitioners respectfully submit that service of the Notice by United States

First Class Mail, First Class International Mail, or email as described above upon the Notice

Parties and other parties-in-interest located in the United States that are known to the Petitioners

and for whom addresses have been obtained shall constitute good and sufficient service upon

such parties-in-interest located in the United States in compliance with Bankruptcy Rule 2002(q)

and Local Bankruptcy Rule 2002-4.




1
    The inclusion of any entity on a service list or the identification of such entity as a Notice
    Party in this Chapter 15 case is not an admission by the Petitioners that the entity is a creditor
    or holds a valid claim against the Company.




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           WHEREFORE, the Petitioners respectfully request entry of an order in the form

attached hereto as Exhibit “A” and that the Petitioners be granted such other and further relief as

this Court deems proper.

Dated: New York, New York
       September 18, 2018



                                             NORTON ROSE FULBRIGHT US LLP



                                             By: /s/ Andrew Rosenblatt
                                                 Andrew Rosenblatt
                                                 Francisco Vazquez
                                                 1301 Avenue of the Americas
                                                 New York, New York 10019
                                                 (212) 408-5100

                                                    Counsel for the Petitioners




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                                   Exhibit A
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
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In re                                                             :
                                                                  :
MADISON ASSET LLC                                                 : In a Case Under Chapter 15
                                                                  : of the Bankruptcy Code
                                                                  :
Debtor in Foreign Proceedings.                                    : Case No. 18-______
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            ORDER LIMITING NOTICE, SCHEDULING HEARING AND
         SPECIFYING THE FORM AND MANNER OF SERVICE OF NOTICE

            Upon the Application for Order Limiting Notice, Scheduling Hearing and

Specifying the Form and Manner of Service of Notice (the “Application”)1 of Martin Nicholas

John Trott and Christopher James Smith, in their capacity as the Joint Official Liquidators (the

“Petitioners”) of Madison Asset LLC (“Official Liquidation”) (the “Company”), for an Order

Limiting Notice, Scheduling Hearing and Specifying the Form and Manner of Service of

Notice, made pursuant to sections 105, 1514, 1517, and 1515 of title 11 of the United States

Code (the “Bankruptcy Code”), Rules 1012, 2002, and 9007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2002-4 of the Local Rules for the

United States Bankruptcy Court for the Southern District of New York (the “Local Bankruptcy

Rules”); it is hereby

                ORDERED, that a hearing (the “Hearing”) to consider the Petition and the

Petitioners’ request for recognition of the Company’s liquidation proceeding pending before

the Grand Court of the Cayman Islands (the “Cayman Proceeding”), and related relief shall be

1
    All capitalized terms used but not defined herein shall have the meanings ascribed to such
    terms in the Application.
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held before this Court, in Room ___ of the United States Bankruptcy Court for the Southern

District of New York, One Bowling Green, New York, New York, on October __, 2018, at

____.m., or as soon thereafter as counsel may be heard (the “Return Date”); and it is further

               ORDERED, that the form of notice of hearing annexed to the Application as

Exhibit “B” (the “Notice”) is hereby approved; and it is further

               ORDERED, that all notice requirements specified in section 1514 of the

Bankruptcy Code are hereby waived; and it is further

               ORDERED, that copies of the Notice shall be served by United States mail,

first-class postage prepaid upon all Notice Parties and other parties specified in the Application,

and by email, if the Petitioners are aware of the Notice Party’s email address, on or before

September __, or as soon thereafter as practicable; and it is further

               ORDERED, that if any party files a notice of appearance in this case, the

Petitioners shall serve the Notice within 10 days of the filing of such notice of appearance if

such Notice has not already been served on such party (or its counsel); and it is further

               ORDERED, that service of subsequent notices in this case shall be effected by

United States mail, first class postage prepaid, upon only those parties that have filed notices of

appearance or objections in this case; and it is further

               ORDERED, that answers, objections or responses, if any, to the Verified

Petition be made in writing describing the basis therefore and filed with the Court electronically

in accordance with General Order M-399 by registered users of the Court’s electronic case

filing system, and by all other parties in interest, on a CD-ROM, preferably in Portable

Document Format (PDF), Word Perfect or any other Windows-based word processing format,

with a hard copy to the Chambers of the Honorable ___________, United States Bankruptcy



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Judge, and served upon Norton Rose Fulbright US LLP, 1301 Avenue of the Americas, New

York, New York 10019 (Attention: Andrew Rosenblatt and Francisco Vazquez) so as to be

received on or before 4:00 p.m. (EST) on _____; and it is further

                  ORDERED, that the Petitioners may file a reply in support their request for an

order granting recognition to the Cayman Proceeding by noon on the day before the Hearing;

and it is further

                  ORDERED, that the Hearing may be adjourned from time to time without

notice other than an announcement in open court at the Hearing or the adjourned date of the

Hearing; and it is further

                  ORDERED, that service of the Notice in accordance with this Order is hereby

approved as adequate and sufficient service and adequate notice of the hearing to consider the

Petitioners’ request for an order granting recognition to the Cayman Proceeding, and granting

related relief.


Dated: New York, New York
       ____________, 2018
                                                                __________________________
                                                                United States Bankruptcy Judge




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                                   Exhibit B
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
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In re                                                             :
                                                                  :
MADISON ASSET LLC,                                                : In a Case Under Chapter 15
                                                                  : of the Bankruptcy Code
                                                                  :
Debtor in a Foreign Proceeding.                                   : Case No. 18-______
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             NOTICE OF FILING AND HEARING ON PETITION SEEKING
             RECOGNITION OF A FOREIGN MAIN PROCEEDING UNDER
             CHAPTER 15 OF THE UNITED STATES BANKRUPTCY CODE

        PLEASE TAKE NOTICE that on ________ Martin Nicholas John Trott and
Christopher James Smith, in their capacity as the Joint Official Liquidators (the “Petitioners”)
of Madison Asset LLC (in Official Liquidation) (the “Company”) and as duly authorized
foreign representatives as defined by section 101(24) of title 11 of the United States Code (the
“Bankruptcy Code”), by their United States counsel, Norton Rose Fulbright US LLP, filed a
petition pursuant to Chapter 15 of the Bankruptcy Code (the “Petition”) with the United States
Bankruptcy Court for the Southern District of New York (the “Court”), seeking recognition of
the Company’s liquidation proceeding under Part V of the Cayman Islands Companies Law
pending before the Grand Court of the Cayman Islands (the “Cayman Proceeding”) as a
“foreign main proceeding,” as defined in section 1502(4) of the Bankruptcy Code.

       PLEASE TAKE FURTHER NOTICE that the Petitioners have also filed, among
other things, (i) a Verified Petition Under Chapter 15 for Recognition of a Foreign Main
Proceeding and (ii) the Memorandum of Law in Support of Verified Petition Under Chapter 15
for Recognition of a Foreign Main Proceeding (together, the “Supporting Documents”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Limiting Notice,
Scheduling Hearing and Specifying the Form and Manner of Service of Notice, dated _______
the Bankruptcy Court has scheduled a hearing (the “Hearing”) for ________, or as soon
thereafter as counsel may be heard, before the Honorable ___________ in Courtroom ___ of
the Bankruptcy Court, One Bowling Green, New York, New York 10004-1408 to consider the
Petition and the relief requested and any responses or objections thereto

       PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
answer, objection or response, if any, to the Petitions must do so pursuant to the Bankruptcy
Code and the Local and Bankruptcy Rules, including, without limitation, Bankruptcy Rule
1012, in writing describing the basis therefore and filed with the Court electronically in
accordance with General Order M-399 by registered users of the Court’s electronic case filing
system, and by all other parties in interest, on a CD-ROM, preferably in Portable Document
Format (PDF), Word Perfect or any other Windows-based word processing format, with a hard
copy to the Chambers of the Honorable ___________, United States Bankruptcy Judge, and
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served upon Norton Rose Fulbright US LLP, 1301 Avenue of the Americas, New York, New
York 10019 (Attention: Andrew Rosenblatt and Francisco Vazquez) as counsel for the
Petitioners so as to be received on or before 4:00 p.m. (EST) on _______, 2018.

        PLEASE TAKE FURTHER NOTICE that all parties-in-interest opposed to the
Petition or the Petitioners’ request for relief must appear at the Hearing at the time and place set
forth above;

       PLEASE TAKE FURTHER NOTICE that if no response or objection is timely filed
and served as provided above, the Bankruptcy Court may grant the recognition and relief
requested by the Petitioners without further notice or hearing.

       PLEASE TAKE FURTHER NOTICE that at the Hearing, the Court may order the
scheduling of a case management conference to consider the efficient administration of the
case.

       PLEASE TAKE FURTHER NOTICE that the Hearing may be adjourned from time
to time without further notice other than an announcement in open court at the Recognition
Hearing of the adjourned date or dates or any further adjourned hearing.

      PLEASE TAKE FURTHER NOTICE that copies of the Petition and the Supporting
Documents will be made available upon request at the office of the Petitioners’ United States
Counsel at the address below.

Dated: New York, New York
       September __, 2018

                                              NORTON ROSE FULBRIGHT US LLP



                                              By: _______________________________
                                                  Andrew Rosenblatt
                                                  Francisco Vazquez
                                                  1301 Avenue of the Americas
                                                  New York, New York 10019
                                                  (212) 408-5100

                                                     Counsel for the Petitioners




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